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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division


WILLIAM RHOADES,

                     Plaintiff,

                                                  Civil Action No. 3:18-cv-558-HEH

COL.PATRICK KINSMAN,USACE,

                     Defendant.


                              MEMORANDUM OPINION
                      (Granting Defendant's Motion to Dismiss)

       This matter is before the Court on Defendant's Motion to Dismiss(the "Motion"),

filed on October 12, 2018(ECF No.6). The dispute in this case centers on a levee that

was originally constructed in 1969, without a permit, where Curies Creek meets the

James River in Henrico County, Virginia. The levee was granted a permit, after the fact,

in 1983 by the U.S. Army Corps ofEngineers (the "Corps"). Later, in 2014,the Corps

approved another permit that authorized an extension to the levee.

       In his Complaint, William Rhoades {pro se "Plaintiff) contends that the 1983 and

2014 permits are invalid. In addition, he contends the levee obstructs navigable access

between Curies Creek and the James River, allegedly restricting his liberty interest and

public right of access to Curies Creek. By way ofremedy,Plaintiff asks this Court to

enter numerous declaratory judgments. However, it is apparent from the face ofthe

Complaint that Plaintiffs action is barred by the applicable statute of limitations, and, in
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addition, because Plaintiff lacks Article III standing. Consequently, the Motion to

Dismiss will be granted.

                                     I.      BACKGROUND


        Curies Creek runs adjacent to Curies Neck Farm, near Route 5 in Henrico County,

Virginia, where it converges with the James River. (Compl. Ex. A.4,BCF No. 1-2.) A

levee was built across Curies Creek in 1969.^ (Compl.^ 35, ECF No. 1.) In May 1981,

the Corps notified Richard Watkins,the previous owner of Curies Neck Farm, that the

levee was constructed without a permit, and it was therefore "in violation of Section 10 of

the River and Harbor Act of 1899." (Compl. Ex. G., ECF No. 1-8.)

        In June 1981, Watkins applied for an after-the-fact permit for the levee. (Compl.^

39.) In February 1983, Watkins received a letter("February 1983 Letter")from the

Corps indicating that his request would be approved, and Watkins was instructed to sign

an enclosed after-the-fact permit that accompanied the letter. (Compl. Ex. A.) A

"Record Permit," aptly labeled because it is maintained in the Corps's records, indicates

that the after-the-fact permit took effect on April 1, 1983 and was signed by another

official on the District Engineer's behalf. (Compl. Ex. B., ECF No. 1-3.)

        Years later, in 2012, Thomas Pruitt, the current owner of Curies Neck Farm,

submitted a permit application to the Corps seeking approval for a one-half mile

extension to the levee. (Compl. 2,^ 18.) On September 10, 2014,the Corps granted the


'The earthen levee across Curies Creek "is approximately 800 feet long with a 15-foot top width ....
The elevation ofthe top ofthe levee is approximately 7.2 feet above the mean high water elevation. Two
water control flapgates are located near the north end ofthe levee, each four feet in diameter." (Compl.
Ex. A.4.)
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permit for the extension—^the construction of which is now complete. (Compl.                     32,

44.)

        On August 13, 2018,Plaintiff filed this action against Colonel Patrick Kinsman,

("Defendant") in his official capacity as Commander ofthe Norfolk District of the U.S.

Army Corps of Engineers.^ (Compl. 2.) Plaintiff alleges the "[Corps] wrongfully

authorized the levee's extension by relying on two foundational documents," the

February 1983 Letter and the Record Permit that the Corps maintains in its records. (Id. H

32.) Plaintiff contends that neither document conforms with the Corps's regulations

because the Corps has not produced a permit with original signatures. (Id. H 33.) In

addition. Plaintiff claims that these authorizations "failed to ensure an easement for

public access" that he seeks to have recognized. (Id.^ 42.)

        In his present action, Plaintiff presents three claims alleging that Defendant

violated the Commerce Clause of the U.S. Constitution, Plaintiffs Procedural Due

Process Rights, and Plaintiffs Substantive Due Process rights under the Fourteenth

Amendment.^ (Id. fl 51-71). As a remedy. Plaintiff asks the Court to enter declaratory

judgments that(I)recognize a public right of access to Curies Creek;(2)find there is

insufficient evidence of a valid Corps permit for the levee across Curies Creek;(3)find


^ In 2016, Plaintiff filed a similar lawsuit in this Court alleging the 2014 levee extension violated the
Commerce Clause ofthe U.S. Constitution, as well as his rights under the Due Process Clause ofthe Fifth
Amendment. Rhoades v. Walker, No. 3:16-cv-335-HEH,2016 WL 4491845(E.D. Va. Aug. 25, 2016).
That case was dismissed for lack of standing. Id.(dismissing for lack of causation and redressability).
^ Defendant recognizes that "Plaintiffs claims are asserted against Colonel Patrick Kinsman in his official
capacity as Commander ofthe[Army Corps of Engineers], a federal agency,[therefore,] the first and
third claims should be properly understood as Fifth Amendment claims." (Def.'s Mem. in Supp. Mot. to
Dismiss 10-11, ECF No. 7.) Although the Court agrees with Defendant, however, because the Court will
dismiss Plaintiffs Complaint on other grounds, the Court need not address the merits ofthese claims.
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the levee is not lawfully authorized and deprives Plaintiff of his rights of access to the

Creek;(4)find that, even if the levee becomes authorized, Plaintiff cannot be deprived of

his right of access absent a legitimate government interest; and(5)that no such

government interest exists. {Id. at 15.)

                            11.     STANDARD OF REVIEW


       A motion to dismiss filed under Federal Rule of Civil Procedure 12(b)(6) tests a

complaint's legal sufficiency. Republican Party ofN.C. v. Martin,980 F.2d 943,951

(4th Cir. 1992). While "detailed factual allegations" are not required, a complaint must

contain "more than labels and conclusions" or a "formulaic recitation ofthe elements of a

cause of action." Bell Atl Corp. v. Twombly, 550 U.S. 544,555(2007)(citations

omitted). Thus,to survive a 12(b)(6) challenge, a complaint's "[f]actual allegations must

be enough to raise a right to relief above the speculative level," id., to a level that is

"plausible on its face," id. at 570. In reviewing a 12(b)(6) motion, the Court assumes

well-pleaded allegations to be true and views a complaint's facts in the light most

favorable to the plaintiff. T.G. Slater & Son v. Donald P. & Patricia Brennan, LLC,385

F.3d 836, 841 (4th Cir. 2004)(citing Mylan Labs, Inc. v. Matkari,1 F.3d 1130, 1134(4th

Cir. 1993)). However, legal conclusions are not entitled to the same deference. Ashcroft

V. Iqbal, 556 U.S. 662,678(2009).

       On 12(b)(6) review, the Court "generally cannot reach the merits of an affirmative

defense, such as the defense that the plaintiffs claim is time-barred," however, the Court

may consider an affirmative defense when there are sufficient facts alleged in the

complaint to make a ruling. Goodman v. PraxAir, Inc., 494 F.3d 458,464(4th Cir.

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2007). "This principle only applies, however, if all facts necessary to the affirmative

defense 'clearly appear[] on theface ofthe complaint.'"^ Id.(quoting Richmond,

Fredericksburg & Potomac R.R. v. Forst,4 F.3d 244,250(4th Cir. 1993); also citing

Desser v. Woods, 296 A.2d 586, 591 (Md. 1972)).

       A litigant may also challenge the court's subject-matter jurisdiction via a Rule

12(b)(1) motion at any point in a case because jurisdiction invokes the court's power to

resolve a legal dispute. See Fed. R. Civ. P. 12(b)(1); Arbaugh v. Y&H Corp., 546 U.S.

500, 514(2006)(stating subject-matter jurisdiction can never be forfeited or waived).

Similarly,"[i]f the plaintiff does not have [Article III] standing, this Court... can go no

further in evaluating this case, and it must be dismissed." Ryals v. Strategic Screening

Sols., Inc., 117 F. Supp. 3d 746,749(E.D. Va. 2015){citmg Arbaugh, 546 U.S. at 514);

see also White Tail Park, Inc. v. Stroube, 413 F.3d 451,459(4th Cir. 2005)(standing

arguments are properly brought under a Rule 12(b)(1) motion).

       A court must review pro se complaints with a liberal construction. Laber v.

Harvey,438 F.3d 404,413 n.3 (4th Cir. 2006). However,this requirement cannot

excuse a clear failure in the pleadings to allege a federally cognizable claim. See Weller

V. Dep't ofSoc. Servs., 901 F.2d 387, 390-91 (4th Cir. 1990). As the Fourth Circuit

explained in Beaudett v. City ofHampton,"[tjhough [pro se\ litigants cannot, of course,

be expected to frame legal issues with the clarity and precision ideally evident in the

work ofthose trained in law, neither can district courts be required to conjure up and

decide issues never fairly presented to them." 775 F.2d 1274, 1276(4th Cir. 1985).
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                                   III.   ARGUMENT


       Defendant challenges Plaintiffs Complaint under Rules 12(b)(1) and 12(b)(6).

Defendant contends that Plaintiffs challenges to the 1983 and 2014 permits are barred by

the applicable statute of limitations in 28 U.S.C. § 2401. (Def.'s Mem. in Supp. Mot. to

Dismiss 4, 11-12.) The Court will address this issue first because, if certain claims are

barred by the statute of limitations, then the Court need not address their merits.

       The United States' waiver of sovereign immunity in civil actions is conditioned

upon the imposition of a six-year statute of limitations. 28 U.S.C. § 2401(a);In re

Carrington Gardens Assocs., 258 B.R. 622,630(E.D. Va. 2001), affd sub nom,

Carrington Gardens Assocs. v. United States, 49 F. App'x 427(4th Cir. 2002). "Unlike

an ordinary statute of limitations, § 2401(a)is ajurisdictional condition ... and as such

must be strictly construed." Spannaus v. U.S. Dep't ofJustice, 824 F.2d 52, 55(D.C. Cir.

1987)(citations omitted); see also Arbaugh v. Y&H Corp., 546 U.S. 500, 514(2006)

(declaring subject-matter jurisdiction can never be forfeited or waived).

       For cases involving administrative agencies, the time in which a plaintiff may file

a complaint begins as soon as the agency has completed its decision making process, and

the result ofthat decision directly affects the parties. Franklin v. Massachusetts, 505

U.S. 788,797(1992); Spannaus, 824 F.2d at 56("A cause of action against an

administrative agency 'first accrues,' within the meaning of§ 2401(a), as soon as ...the

person challenging the agency action can institute and maintain a suit in court.")

Pertinent to this case, § 2401(a) has previously been applied to bar a plaintifffrom

challenging a permit issued by the U.S. Army Corps of Engineers. See P &V

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Enterprises v. U.S. Army Corps ofEngineers, 516 F.3d 1021, 1022(D.C. Cir. 2008)

(affirming the dismissal of a complaint against the Corps where the plaintiffs claims

were barred pursuant to 28 U.S.C § 2401(a)).

        In the current matter, the Complaint states:

        This action challenges the validity of the September 10, 2014 [U.S. Army
        Corps of Engineers] permit for the levee extension, and is brought within
        the statute of limitations. Plaintiff alleges that on that date [the Corps]
        wrongfully relied on a permit for the levee that was proffered in 1983, but
        was never accepted and signed by the intended permittee.

(Compl.f 5) Stated differently. Plaintiff alleges that the 1983 after-the-fact permit is

invalid because it was never signed, and consequently, this alleged deficiency extends to

invalidate the 2014 permit. By focusing on the 2014 permit. Plaintiff attempts to side

step the six-year statute of limitations, and present his Complaint as timely filed. The

Court, however, is not persuaded.

        Here, it is clear from the face ofthe Complaint that Plaintiffs challenges to both

permits hinge on whether the 1983 permit was valid. Therefore, Plaintiff attempts to

belatedly challenge an administrative decision that first accrued in 1983—more than

thirty-five(35) years ago. Consequently, the applicable statute of limitations, 28 U.S.C §

2401(a), ran in 1989 and Plaintiffs challenges to the 1983 and 2014 permit are barred."^

         Furthermore, while the Court must view all well-pleaded facts in Plaintiffs favor, the Court is
not bound by Plaintiffs legal conclusions that the permits are invalid. While the Court does not resolve
issues offact at this stage ofthe proceeding, the Court recognizes that Plaintiff has attached exhibits to his
Complaint that appear to undermine his allegation that the 1983 permit was never signed and accepted.
Specifically, the Record Permit maintained by the Corps(Compl. Ex. B)indicates that the after-the-fact
permit was signed in 1983 in accordance with applicable regulations at the time the permit was issued.
See 33 C.F.R. § 325.8(b)(1982)("It is essential to the legality of a permit that it contain the name ofthe
District Engineer as the issuing officer. However,the permit need not be signed by the District Engineer,
in person; but may be signed for and in behalf of him by whoever he designates."). Furthermore, Exhibit
C indicates that the Corps's,"maintaining a 'Record of Permit,' rather than a signed final copy ofthe
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        Beyond the validity ofthe 1983 and 2014 permits, Plaintiff seeks to vindicate his

perceived right of access to Curies Creek. He claims that "[t]he authorization ofthe levee

failed to ensure an easement for public access despite the fact that(1)portaging rights are

incidental to navigation, and(2)the land locking ofthe publicly-owned waterway created

legitimate justification for an 'easement by necessity.'" (Compl.^ 42.) The Court is

dubious of whether a federal district court is an appropriate forum—as opposed to a state

court—^to address what appears to be a dispute over real property and access to land.

However,the Court need not reach this question because it is apparent that Plaintiff lacks

standing to assert his claim of a public right of access.

        Standing is a "core component" of a court's ability to resolve specific cases and

controversies under Article III ofthe Constitution. Lujan v. Defs. of Wildlife, 504 U.S.

555, 560(1992). The "irreducible constitutional minimum" to establish standing requires

that each claim plausibly satisfy three requirements:(1)an injury in fact,(2)causation,

and(3)redressability. Mat560-61.

        Addressing each ofthese requirements in turn, a plaintiff must demonstrate an

injury in fact through a violation of a legally protected interest that is "concrete and

particularized" and "actual or imminent, not 'conjectural' or 'hypothetical.'" Id. at 560

(internal citations omitted)(quoting Whitmore v, Arkansas, 495 U.S. 149, 155 (1990)).

The Supreme Court has stated that "'threatened injury must be certainly impending to

constitute injury in fact,' and that '[a]negations ofpossible future injury' are not



permit" was "consistent with [the Corps's] record keeping practices in the timeframe when this permit
[dated April 1, 1983] was issued." (Compl. Ex. C., ECF 1-4.)

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sufficient" to satisfy this requirement. Clapper v. Amnesty Int'I USA, 568 U.S. 398,409

(2013)(quoting Whitmore,495 U.S. at 158). To demonstrate the second facet of

standing, a plaintiff must plead a causal link between the injury and the defendant's

conduct—^that is the injury must be "fairly ... trace[able] to the challenged action of the

defendant, and not... th[e] result [of] the independent action ofsome third party not

before the court." Lujan, 504 U.S. at 560-61 (quoting Simon v. E. Ky. Welfare Rights

Org.,426 U.S. 26,41-42(1976)). Finally, to satisfy the third facet ofstanding,

redressability, a plaintiff must show that it is likely, and not merely speculative, that his

injury will be redressed by a favorable outcome ofthe litigation. Id. at 561.

       Here,Plaintiffs claim of public access to Curies Creek fails because it cannot be

redressed by the Court in the current suit. As detailed above. Plaintiffs claim depends in

large part on the validity of permits that the Corps granted to the private owners of Curies

Neck Farm. Plaintiff was not a party to these decisions and cannot challenge them based

upon the application ofthe statute oflimitations. Second, Plaintiffs claim, which is

tantamount to requesting an "easement for public access," seeks to determine property

rights that impact a party who is not even before the Court. See Lujan,504 U.S. at 560-

61. Similarly, the Court will not enter ajudgment that essentially authorizes Plaintiffs

trespassing on private property. Thus, having concluded that Plaintiffs claim for public

access cannot be redressed in the current lawsuit, the Court need not address the

remaining requirements of causation and an injury in fact.
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                                  IV.    CONCLUSION


       For all these reasons, Defendant's Motion to Dismiss will be granted because

Plaintiffs challenge of the underlying 1983 permit(and thereby the 2014 permit that

relies on it) was filed well-beyond the statute of limitations. Also, the Court finds that

Plaintifflacks standing to challenge his alleged right of public access to Curies Creek and

the levee. Having concluded that the statute of limitations, combined with the issue of

standing, operate to bar Plaintiffs Complaint from proceeding, the Court need not

address the merits ofPlaintiffs individual constitutional claims. An accompanying

Order will follow this Memorandum Opinion.




                                                                 /s/
                                                  Henry E. Hudson
                                                  Senior United States District Judge


Richmond, Virginia




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